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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                          )
                                                          )
 SMARTMATIC USA CORP., SMARTMATIC                         )
 INTERNATIONAL HOLDING B.V., and SGO                      )
 CORPORATION LIMITED,                                     )
                                                          )
 Plaintiffs,                                              )    Case No. 21-cv-02995-CJN
                                                          )
 v.                                                       )
                                                          )
 SIDNEY POWELL,
                                                          )
 Defendant.                                               )
                                                          )
                                                          )
                                                          )
                       DECLARATION OF J. ERIK CONNOLLY
               IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, I, J. Erik Connolly, hereby declare:

       1.       My full name is J. Erik Connolly. I serve as counsel for Plaintiffs Smartmatic USA

Corp., Smartmatic International Holding B.V. and SGO Corporation Limited.

       2.       I am an attorney practicing with the law firm of Benesch, Friedlander Coplan &

Aronoff LLP located at 71 S. Wacker Drive, 16th Floor, Chicago, IL 60606. My telephone number

is (312) 212-4949.

       3.       I am admitted to and am a member in good standing with the State Bar of Illinois.

I am also admitted to practice before the following courts: the United States District Court for the

Northern District of Illinois, the Illinois Supreme Court, the United States Court of Appeals for

the Seventh Circuit, the United States District Court for the Eastern District of Michigan, and the

United States District Court for the Western District of New York.
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       4.       I certify that there are no pending disciplinary proceedings against me before any

bar, and I have not been disciplined by any bar in the past.

       5.       I have previously been admitted pro hac vice in this Court in Smartmatic USA Corp.

et al. v. Herring Networks, Inc., 21-cv-02900-CJN (D.D.C.) and Lindell v. US Dominion, Inc. et

al., 21-cv-02296-CJN (D.D.C.).

       6.       I do not practice law from an office located in the District of Columbia.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

November 22, 2021.




                                                      J. Erik Connolly




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